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                           THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

 BRADLEY J. CORNILLE, SR., B88097,)
                                  )
             Petitioner,          )
                                  )
             v                    )
                                  )                          Case No. 24-cv-1202-SMY
 PERCY MYERS, PINCKNEYVILLE       )
 COMMUNITY HOSPITAL, SOUTHERN )
 ILLINOIS HOSPITAL, JOHN          )
 DAVIDSON, JAMIE KARALES,         )
 CHRISTINE BROWN, JANE DOE 1, and )
 JANE DOE 2,                      )
                                  )
             Defendants.          )

                             MOTION FOR EXTENSION OF TIME
        NOW COME the Defendants, CHRISTINE BROWN, JAMIE KARALES, and JOHN

 BARWICK, by and through their attorney, KWAME RAOUL, Attorney General of the State of

 Illinois, and for their Motion for Extension of Time pursuant to Federal Rule of Civil Procedure

 6(b)(1)(B), state as follows:

    1. Plaintiff filed his amended complaint against all defendants seeking monetary and

        declaratory relief on August 6, 2024. (Doc. 9).

    2. The Defendants’ Answer or Responsive pleading was due March 25, 2025. (Doc. 26).

    3. Each of the Defendants requested representation from the Office of the Illinois Attorney

        General, and undersigned counsel was assigned to represent these Defendants in February

        2025.

    4. Undersigned spoke with two of her clients but needs additional time to review relevant

        documents that were received as recently as the last one and two weeks, as well as confer

        with one remaining client, in order to prepare a responsive pleading in this case. Counsel’s



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       filing of this motion is untimely as she was unable to complete her review of this case in a

       timely manner.

    5. There is good cause here for the extension for the reasons described above. For excusable

       neglect, the Court should “consider all relevant circumstances surrounding the party’s

       neglect, including prejudice to the non-movant, length of delay, and reason for the delay.”

       Bowman v. Korte, 962 F.3d 995, 998 (7th Cir. 2020), citing Pioneer Inv. Servs. Co. v.

       Brunswick Assoc. Ltd P’ship, 507 U.S. 380, 395 (1993). The circumstances support the

       finding of excusable neglect, including Counsel’s inability to file a timely Motion for

       Extension of Time due to personal laptop issues that stopped her from having access to the

       Corut’s filing website on March 25,2025, the short delay in so filing, and the fact that she

       has been unable to speak with one of the defendants.

    6. Upon realizing that the deadline for the answer had passed, action was quickly taken by

       the filing of this motion. The delay in filing was in no way attributable to Defendants and

       the resulting prejudice to them would be substantial if they were unable to file an Answer

       and assert any relevant defenses.

    7. Undersigned counsel did not file a piecemeal Answer for two Defendants as that would

       further waste judicial resources.

    8. As such, Defendants respectfully request a thirty (30) day extension, up to and including

       April 25, 2025, to file a responsive pleading. Defendants respectfully request this Court

       extend the responsive pleading deadline. See Fed. R. Civ. P. 6(b)(1)(B).

    9. This request is made in good faith and not for the purpose of delay. Defendants believe

       Plaintiff will suffer no prejudice with the granting of this extension, as the case is in the

       beginning stages and no other deadlines are currently pending.



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    10. As Plaintiff is an incarcerated individual, he could not be reached regarding his

        position to this motion.



        WHEREFORE, for the above and foregoing reasons, Defendants respectfully request this

 Honorable Court grant Defendants’ motion and allow Defendants up to and including April 24,

 2025, to file a responsive pleading and for such other relief as this Court deems just and proper.




                                               Respectfully submitted,

                                               CHRISTINE BROWN, JAMIE KARALES, and JOHN
                                               BARWICK,

                                                      Defendants,

                                               KWAME RAOUL, Attorney General,
                                               State of Illinois,

                                                      Attorney for Defendants,

                                               By:    s/Phoenix Mason
                                                      Phoenix Mason, #6328761
                                                      Assistant Attorney General
                                                      500 South Second Street
                                                      Springfield, Illinois 62701
                                                      Telephone: (217) 785-4555
                                                      Facsimile: (217) 782-8767
                                                      E-Mail: Phoenix.Mason@ilag.gov




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 DAVIDSON, JAMIE KARALES,         )
 CHRISTINE BROWN, JANE DOE 1, and )
 JANE DOE 2,                      )
                                  )
             Defendants.          )

                                 CERTIFICATE OF SERVICE

          I hereby certify that on March 26, 2025, the foregoing document, Motion for Extension of
 Time, was electronically filed with the Clerk of Court using the CM/ECF system which will send
 notification of such filing to the following:

 Robert S. Tengesdal rtengesdal@cktrials.com
 Victor F. Price     vprice@cktrials.com

 and I hereby certify that on the same date, I caused a copy of the document to be mailed by United
 States Postal Service to the following non-registered participant:

 BRADLEY J. CORNILLE, SR., B88097
 Dixon Correctional Center
 Individual In Custody Legal Mail
 2600 North Brinton Ave
 Dixon, Illinois 61021



                                              By:    s/Phoenix Mason
                                                     Phoenix Mason, #6328761
                                                     Assistant Attorney General
                                                     500 South Second Street
                                                     Springfield, Illinois 62701
                                                     Telephone: (217) 785-4555
                                                     Facsimile: (217) 782-8767
                                                     E-Mail: Phoenix.Mason@ilag.gov

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